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                                                                                USDC SDNY
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                                                                                ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                    DOC #:
SOUTHERN DISTRICT OF NEW YORK                                                   DATE FILED: 11/07/2022
 -------------------------------------------------------------- X
 NIKE, INC.,                                                    :
                                                                :
                                              Plaintiff,        :
                                                                :
                            -against-                           :          22-CV-0983 (VEC)
                                                                :
                                                                :                ORDER
 STOCKX LLC,                                                    :
                                                                :
                                              Defendant. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS on November 4, 2022, the Undersigned held a telephonic hearing at the

request of the parties regarding a discovery dispute over the classification of certain documents

as highly confidential pursuant to the Protective Order at docket entry 52.

        IT IS HEREBY ORDERED that the Nike, Inc. must submit a sample of the disputed

documents with proposed redactions to the Court for in camera review by email to

CaproniNYSDChambers@nysd.uscourts.gov no later than 5:00 P.M. on Monday, November 7,

2022.



SO ORDERED.
                                                                    ________________________
Date: November 7, 2022                                                 VALERIE CAPRONI
      New York, New York                                             United States District Judge
